              Case 4:18-cv-01692 Document 24-1 Filed on 02/18/19 in TXSD Page 1 of 2



Ben Wickert

From: Ben Wickert
Sent: Monday, February 11, 2019 5:50 PM
To: Christopher Raney
Cc: Andrew Slania
Subject: RE: Taslid



Noted.


Despite Arch's multiple violations of discovery ruies (including Rules 34 and 30(b)(6))/ as well as its failures to abide by
the agreements we established on the deposition record/ we will nonetheless make our expert Steve Strzelec available
for deposition if you wish to take it. Please iet us know. He is located in Sammamish/ Washington.


Ben Wickert
Senior Attorney


BWickert@Raiznerlaw.com
(d) 713.554.9078
(f) 713.554.9098

-—Original Message-""-
From: Christopher Raney <craney@grsm.com>
Sent: Monday, February 11, 2019 3:49 PM
To: Ben Wickert <BWickert@rai2nerlaw.com>
Cc: Andrew Slania <asiania@raiznerlaw.com>
Subject: Re: Tasiid


Cannot agree.




Chris Raney | Partner

Gordon & Rees LLP

Direct Dial (713) 490-4823




On 2/11/19, 12:18 PM/ "Ben Wickert" <BWickert@raiznerlaw.com> wrote:


  Chris, I wanted to follow up on this once more. We would appreciate the courtesy of agreeing to push the submission
date of the expert motions untii after completion of the expert depositions. Happy to discuss logistics of that. But I need
to know your position on this soon/ as I am currently facing a deadline of one week from today to respond to all four of
your motions. Please feel free to call me at the office. Thanks.


  Ben Wickert
  Senior Attorney


  BWickert@Raiznerlaw.com

                                                        EXHIBIT 1
            Case 4:18-cv-01692 Document 24-1 Filed on 02/18/19 in TXSD Page 2 of 2


  (d) 713.554.9078
  (f) 713.554.9098

  -"—Original Message—-
  From: Ben Wickert
  Sent: Friday, February 08, 2019 1:02 PM
  To: craney@grsm.com
  Cc: Andrew Slania <aslania@raiznerlaw.com>
  Subject: Taslid

  Hi Chris, just wanted to follow up on our call yesterday to see if you would agree to an extension of the responses on
the expert motions. Appreciate you letting us know as soon as you can/ either way. Thanks very much.


  Sent from myiPhone




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http://www.grsm.com




                                                       EXHIBIT 1
